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MURRAY GUARD, INC., regina ‘ ,1
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Plainn'rr, CiviL ACTION NO 1 05 1046”FJAN iii C`QUW
v.

PREFERRED BENEFITS, 1NC.,
DAVID R. vANDERsLICE (individuany),
EMPLOYERS oNE soURCE, INC_,
LESLIE E. sMITH (Individuaiiy), and
L_s_& AssoCrArEs iNs.
CoNsULrANrs, INC.,

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Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are established as the final
dates for:
(I) INITIAL DISCLOSURES RULE 26(3)(1);

The parties will exchange by September 16, 2005, the information required by Fed. R. Civ. P.
26(a)(] ).

(2) JolNrNG PARrIEs=

for Plaintiff: No later than November 15, 2005
for Defendants: No later than December l, 2005

(3) AMENDING PLEADINGS=

for Plaintiff: No later than January 16, 2006
for Defendants: No later than February l, 2006

(4) COMPLETING ALL DISCOVERY: The parties jointly propose to the Court the following
discovery plan:

(A) REQUESTS FOR PRODUCTION, INTERROGATORIES, and
REQUESTS FOR ADMISSIONS: The foregoing requests for written discovery shall
be commenced in time to be completed by October 31, 2005. Interrogatories submitted
will be limited to 45 in number. Responses to interrogatories, requests for admissions
and for production of documents to be due within 30 days after service thereofl

(B) DEPOSITIONS. There will be a maximum of seven (7) depositions by Plaintiff and
This document entered on the docket sheet in compliance

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seven (7) by Defendants. A]l depositions to be scheduled so as to permit completion thereof no
later than December 3l, 2005.

(C) EXPERT DISCLosURE Rule 26(a)(2):

(i) Plaintiff’s Experts: Identity and reports from retained experts due no later than
January 15, 2006.

(ii) Defendant’s Experts: Identity and reports from retained experts due no later than
February 15, 2006.

(iii) Supplenientation under Rule 26(e): Due no later than March l, 2006

{D) DEPOSITIONS OF EXPERTS: To be scheduled so that completion thereof will take
place no later than March 3 ], 2006.

(5) FILING DISPOSITIVE MOTIONS: Any dispositive motions to be filed by Plaintiff or
Defendants shall be filed no later than April 17, 2006.

(6) FINAL LISTS OF WITNESSES AND EXHIB[TS Rule 26(a)(3):
__(A) For Plaintiff: No later than June 2, 2006
(B) For Defendants: No later than June 16, 2006

Parties shall have fifteen (15) days after service of final lists of witnesses and exhibits to file objections
under Rule 26(a)(3).

The trial of this matter is expected to last two (2) days and is SET for NON-JURY TRIAL on July 17,
2006 at 9:30 A.M. A joint pretrial order is due on or prior to July 7', 2006. In the event the parties are unable to
agree on a joint pretrial order, the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted to the opposing
party in sufficient time for the opposing party to respond by the deadline for completion of discovery. For example,
if the FRCP allow 30 days for a party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within 30 days of the
default or service of the response, answer, or objection which is the subject of the motion if the default occurs within
30 days of the discovery deadline, unless the time for filing of such motion is extended for good cause shown, or any
objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)(l)(B), all motions, except motions
pursuant to FRCP ]2, 56, 59, and 60 shall be accompanied by a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may file an
additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall file a
motion for leave to file a reply accompanied by a memorandum setting forth the reasons for which a reply is
required

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The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can normally provide
the parties with a definite trial date that will not be continued unless a continuance is agreed to by all parties, or an
emergency arises which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private mediation on or

before the close of disco vega

This order has been entered after consultation with trial counsel pursuant to notice. Absent good cause
shown, the scheduling dates set by this Order will not be modified or extended

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S. THOMAS ANDERSON
UNITED ST S MAGISTRATE JUDGE

IT IS SO ORDERED.

 

APPROVED BY'.
BREWER, KRAUSE, BROOKS, CHASTAlN & BURROW
By: S/ Gary A. Brewer

GARY A. BREWER, Attorney for Preferred
Benefits, Inc. and David R. Vanderslice (Defendants)

BU']`LER, SNOW, O’MARA, STEVENS & CANADA, PLLC

By: iS/’ Mason W. Wilson
MASON W. WILSON, Attorney for Employers One
Source, Inc. and Leslie E. Smith

SPRAGINS, BARNETT, COBB & BUTLER, PLC
By: _S/ Larry A. Butler

LARRY A. BUTLER, Attorney for Plaintiff,
Murray Guard, lnc.

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 15 in
case 1:05-CV-01049 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

